Case 23-10084-amc                   Doc         Filed 11/04/24 Entered 11/04/24 18:21:40                                  Desc Main
                                                Document      Page 1 of 8

     Fill in this information to identify the case:

     Debtor 1 JOHN THOMAS MOORE, JR
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Eastern District of Pennsylvania
     Case number 23-10084-amc




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 12
  Last four digits of any number you           9172                             Date of payment change:                     12/01/2024
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $1,409.99
                                                                                Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 500.71             New escrow payment:          $ 620.28



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %               New interest rate:                                %

                Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:


                Current mortgage payment: $                        New mortgage payment: $




Official Form 410S1                            Notice of Mortgage Payment Change                                                 page 1
Case 23-10084-amc                       Doc       Filed 11/04/24 Entered 11/04/24 18:21:40                    Desc Main
                                                  Document      Page 2 of 8

   Debtor1   JOHN THOMAS MOORE, JR                                   Case number (if known) 23-10084-amc
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Andrew Spivack
       Signature
                                                                                    Date 11/03/2024



   Print: Andrew Spivack (84439)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




Official Form 410S1                               Notice of Mortgage Payment Change                                 page 2
Case 23-10084-amc             Doc       Filed 11/04/24 Entered 11/04/24 18:21:40                    Desc Main
                                        Document      Page 3 of 8
                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                           Philadelphia Division


 IN RE:
 JOHN THOMAS MOORE, JR                                           Case No. 23-10084-amc
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 JOHN THOMAS MOORE, JR ,
        Debtor


                                              CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com

SCOTT F. WATERMAN [Chapter 13], Bankruptcy Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107

Via First Class Mail:

JOHN THOMAS MOORE, JR
1549 66TH AVE
PHILADELPHIA, PA 19126-2766

Date: November 4, 2024
                                                     /s/Andrew Spivack
                                                     Andrew Spivack, PA Bar No. 84439
                                                     Matthew Fissel, PA Bar No. 314567
                                                     Mario Hanyon, PA Bar No. 203993
                                                     Ryan Starks, PA Bar No. 330002
                                                     Jay Jones, PA Bar No. 86657
                                                     Attorney for Creditor
                                                     BROCK & SCOTT, PLLC
                                                     3825 Forrestgate Drive
                                                     Winston Salem, NC 27103
                                                     Telephone: (844) 856-6646
                                                     Facsimile: (704) 369-0760
                                                     E-Mail: PABKR@brockandscott.com
Case 23-10084-amc   Doc   Filed 11/04/24 Entered 11/04/24 18:21:40   Desc Main
                          Document      Page 4 of 8
Case 23-10084-amc   Doc   Filed 11/04/24 Entered 11/04/24 18:21:40   Desc Main
                          Document      Page 5 of 8
Case 23-10084-amc   Doc   Filed 11/04/24 Entered 11/04/24 18:21:40   Desc Main
                          Document      Page 6 of 8
Case 23-10084-amc   Doc   Filed 11/04/24 Entered 11/04/24 18:21:40   Desc Main
                          Document      Page 7 of 8
Case 23-10084-amc   Doc   Filed 11/04/24 Entered 11/04/24 18:21:40   Desc Main
                          Document      Page 8 of 8
